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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

COMERICA BANK,                                                   Case No. 2:07- cv- 15163

       Plaintiff/Counter Defendant,                              Hon. Avern Cohn
v.                                                               Mag. Judge Mona Majzoub

HASSAN HARAJLI,

       Defendant/Counter Plaintiff,

and

AHMED HARAJLI, MOOSE SCHEIB a/k/a
MUSTAPHA M. CHEAIB, JOHN A. CONTI,
HAKIM FAKHOURY, JAMES PARRELLY,
FULL MOON PETRO HOLDINGS, LLC, a
Michigan limited liability company, and JOHN
DOE 1 identified only as “Pete,” jointly and severally,

       Defendants.

______________________________________________________________________/

MILLER, CANFIELD, PADDOCK AND STONE                       LAW OFFICE OF CYRIL C. HALL, PC
Steven A. Roach (P-39555)                                 Cyril C. Hall (P-19121)
Todd A. Holleman (P-57699)                                Attorney for Hassan Harajli
Attorneys for Comerica Bank                               149 Franklin Blvd.
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ABBAS & ASSOCIATES, PC
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_______________________________________________________________________/
                         STIPULATED ORDER OF DISMISSAL
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                          STIPULATED ORDER OF DISMISSAL

                               At a session of said Court on this
                                 21st day of May, 2008, in the
                      City of Detroit, County of Wayne, State of Michigan

                          PRESENT: HONORABLE AVERN COHN
                                     District Judge

       WHEREAS, Plaintiff/Counter-Defendant Comerica Bank, Defendant/Counter-Plaintiff

Hassan Harajli and Defendant Ahmed Harajli have executed and entered into a Settlement

Agreement, and the Court being otherwise fully advised in the premises;

       IT IS ORDERED that this action, including all counter-claims, is DISMISSED with

prejudice and without costs to any party.

                                                   s/Avern Cohn             __
                                                           District Judge
STIPULATED AND AGREED:

___s/Todd A. Holleman_______
Todd A. Holleman (P-57699)
MILLER, CANFIELD, PADDOCK AND STONE
Attorneys for Comerica Bank
150 W. Jefferson Avenue, Suite 2500
Detroit, MI 48226
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__s/ with consent of Cyril C. Hall___
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___s/ with consent of Issam A. Abbas_
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